                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF TENNESSEE
                                        NASHVILLE DIVISION



UNITED STATES OF AMERICA,                 )
                                          )
     Plaintiff,                           )
                                          )                     3:11-cr-00012
v.                                        )                       .
                                          )
ROBERT PORTER, et al.                     )
                                          )
     Defendants.                          )


                                                ORDER

                  Document #856, Defendant Alto Parnell’s Motion for Pretrial Disclosure of Material

Witnesses and joined by Xavier Parnell, Porter, Cross, and Vance is DENIED. The showings of

necessity in this case are inadequate.

          It is so ORDERED.




                                                 Thomas A. Wiseman, Jr.
                                                 Senior United States District Judge




Case 3:11-cr-00012             Document 1217       Filed 09/05/12     Page 1 of 1 PageID #: 6160
